                       EXHIBIT A




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                               GREENEVILLE DMSION


                                                     )   CASE NO. 2:08-MD-01000
 IN RE SOUTHEASTERN MILK                             )
 ANTITRUST LITIGATION                                )   JUDGE GREER
                                                     )
                                                     )
 TIUS DOCUMENT RELATES TO:                           )
                                                     )
Sweetwater Valley Farm, Inc., et aL v. Dean          )
Foods Company, etaL,CaseNo.2:07-CV-208               )
                                                     )


                                SETTLEMENT AGREEMENT

        This Settlement Agreement (''Agreement'') is made and entered into as of this 17th day of

January, 2013 by and between Defendants Dairy Farmers of America, Inc. ("DFA"), National

Dairy Holdings, LP, ("NDH"), Dairy Marketing Services, LLC, Mid-Am Capital LLC, and Gary
                                                     .
Hanman (collectively, as defined in Paragraph 1.22, "Settling Defendantsj and Plaintiffs

Sweetwater Valley Fann, Inc., Barbara Arwood and Victor Arwood d/b/a VBA Dairy, Jeffrey P.

Bender, Randel E. Davis, Farrar & Farrar Dairy, Inc., Fred Jaques, John M. Moore, D.L. Robey

Farms, Robert D. Stoots, Virgil C. Willie, Thomas R. Watson, James D. Baisley and Eva C.

Baisley d/b/a Baisley Farms, Stephen J. Cornett, Payne Dairy, and Jerry L. Holmes ( collectively,

as defined in Paragraph 1.15, "Plaintiffs"), on behalf of themselves and all members of the Class

(defined below).

       WHEREAS, Plaintiffs are prosecuting the above-captioned action on their own behalf

and on behalf of the Class against the Settling Defendants;

       WHEREAS, Plaintiffs have alleged in their complaints and amended complaints

(collectively, and with any other pleading filed in this matter or any consolidated matter, the


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 "Complaint'') that the Settling Defendants during the Class Period (defined below) engaged in

 certain conduct in violation of, among other things, the Sherman Act, 15 U.S.C. §§ 1 and 2,

 which caused the Plaintiffs and members of the Class to incur damages as a result of such

 conduct, for which Plaintiffs and the Class seek an award of money damages and injunctive

 relief;

           WHEREAS, the Settling Defendants deny each and every one of Plaintiffs' allegations of

 unlawful conduct, have not conceded or admitted any liability, and have asserted a number· of

 defenses to Plaintiffs' claims;

           WHEREAS, Plaintiffs have conducted an investigation into the facts and the law

 regarding the Complaint and have concluded, after carefully considering the facts and

 circumstances of the Complaint, the risks associated with continued litigation, and the applicable

 law, that a settlement with the Settling Defendants according to the terms and conditions set forth

 below (the ''SettleIQ.ent") is in the best interest of Plaintiffs and the Class;

           WHEREAS, the Settling Defendants, despite their belief that they are not liable for the

 claims asserted and that they have meritorious defenses to the claims alleged, have nevertheless

 concluded that they will enter into this Agreement solely to avoid the further expense,

 inconvenience, and burden of protracted litigation, and the distraction and diversion of ~ts

personnel and resources, and thereby to put to rest this controversy, and to avoid the risks

inherent in uncertain, complex litigation;

           WHEREAS, Plaintiffs and the Settling Defendants agree that this Agreement shall not be

deemed or construed to be an admission or evidence of any violation of any statute or law or of

any liability or wrongdoing by Settling Defendants or of the truth of any of the claims or

allegations in the Complaint;



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        WHEREAS, arms-length settlement negotiations have taken place between counsel for

 the Plaintiffs, on behalf of Plaintiffs and the Class, and counsel for the Settling Defendants;

        WHEREAS, Settling Defend.ants and the Plaintiffs have each had the full opportunity to

 examine the facts and circumstances surrounding their respective decisions to accept the terms of

 this Agreement and have not relied upon any representations (or the lack thereof) not set forth in

 this Agreement itself concerning the circumstances leading to this Agreement; and

        WHEREAS, this Agreement, which is subject to the preliminary and final approval of the

 Court, sets forth all of the terms and conditions of the agreement between the Settling

Defendants and the Plaintiffs, on behalf of themselves and the Class;

        NOW, TIIEREFORE, in consideration of the covenants, agreements and releases set

forth herein and for other good and valuable consideration, it is agreed by and among the

undersigned, on behalf of the Settling Defendants and on behalf of the Plaintiffs and the Class,

that the Action (defined below) and all claims of the Plaintiffs and the Class against the Settling

Defendants be settled, compromised and dismissed on the merits and with prejudice, without

costs as to Plaintiffs, the Class, or the Settling Defendants, subject to the approval of the Court,

on the following tenns and conditions.

1.      Def"mitions

        1.1.   "Actions" means the consolidated class action captioned as Sweetwater Valley

               Farm, Inc., et al. v. Dean Foods Company, et al., 2:07-CV-208 (E.D. Tenn.), as

               well as all prior class actions consolidated therewith, including Aker v. Dean

               Foods Company, et al., 2:07-CV-248 (E.D. Tenn.), Farrar et al. v. Dean Foods

               Company, et al., 2:07-CV-00272 (E.D. Tenn.), Baisley et al. v. Dean Foods

               Company et al., 2:08-CV-00014 (E.D. Tenn.), Scott Dairy Farm, Inc., et al. v.



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             DeatJ Foods Company, et al., Case No. 2:07-CV-208, and Ernest Groseclose &

             Sons, Inc. et al. v. Dean Foods Company et al., 2:08-CV-00053 (E.D. Tenn.).

      1.2.    "Claims Administrator" means the entity selected by Class Counsel to administer

             the Settlement and, in particular, the claims process in this matter.

      1.3.   "Class" means the two subclasses certified by the Court in its Memorandum

             Opinion and Order dated September 7, 2010 (Doc. 934), which included the

             Independent Dairy Fanner and Independent Cooperative Member Subclass and

             the DFA Member Dairy Farmer Subclass, which subclass was recertified in the

             Court's Memorandum and Opinion dated June 1, 2012 (Doc. 1878).

      1.4.   "Class Counsel" means the law firms of Baker Hostetler LLP, 1050 Connecticut

             Avenue, NW, Suite 1100, Washington, D.C. 20036 and Brewer & Terry, P.C.,

             1702 West Andrew Jack.son Highway, Morristown, 1N 37806.

      1.5.   "Class Member'' means a Person who falls within the Class definition and has not
                                                                                         I


             exercised bis right to be excluded from the Independent Dairy Farmer and

             Independent Cooperative Member Subclass as of June 17, 2011 or the DFA

             Member Dairy Farmer Subclass as of July 8, 2012 and been identified in

             Plaintiffs' July 20, 2012 report to the Court (Doc. 1919) (the "Exclusion Dates").

             "Class Member" also means a Person who falls within the Class definition and

             exercised his right to be excluded from the Class as of the Exclusion Dates but is

             permitted by order of the Court to opt back into the Class.

     1.6.    "Class Period" means the period from January 1, 2001 through the present.

     1.7.    ''Court'' means the United States District Court for the Eastern District of

             Tennessee.



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       1.8.    "Distribution Plan" shall have the meaning set forth in Paragraph 8.4 hereto.

      1.9.     "Effective Date" means the earliest date on which all of the events and conditions

               specified in Paragraph 5.1 herein have occurred or have been met.

      1.10. "Fairness Hearing" shall have the meaning set forth in Paragraph 2.1 hereto.

      1.11. "FSA" refers to a full-supply agreement and means an agreement to assume the

              responsibility for supplying all of a buyer's requirements for Grade A milk at a

              buyer's processing plant.

      1.12. "Judgment'' means final order of judgment, dismissal, and approval of the

              Settlement.

      1.13. "Parties" means Plaintiffs, the Class, and the Settling Defendants.

      1.14. "Person" means an individual or an entity.

      1.15. "Plaintiffs" means the named plaintiffs Sweetwater Valley Farm, Inc., Barbara

              Arwood and Victor Arwood d/b/a VBA Dairy, Jeffrey P. Bender, Randel E.

              Davis, Farrar & Farrar Dairy, Inc., Fred Jaques, John M. Moore, D.L. Robey

              Farms, Robert D. Stoots, Virgil C. Willie, Thomas R. Watson, James D. Baisley

              and Eva C. Baisley d/b/a Baisley Farms, Stephen J. Cornett, Payne Dairy, and

              Jerry L. Holmes, and any other plaintiffs designated by the Court as class

              represen1atives, individually and on behalf of the Class.

      1.16. "Preliminary Approval Order" means an order to be entered by the Court

              preliminarily approving the Settlement.

      1.17. "Released Claims" means all claims that were asserted or that could have been

              asserted in the Complaint as to the Released Parties, as defined in Paragraph 1.18

              below. Released Claims includes any and all claims regardless of their nature



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               from January l, 1994 through and including the Effective Date arising out of:

               associated with. or related to the facts or circumstances alleged in the Complaint,

               including but not limited to Settling Defendants' sale, transportation and

               marketing of raw Grade A milk, or their purchase of, or failure or refusal to

              purchase, raw Grade A milk that          was produced in and pooled on Federal Milk
              Marketing Order 5 {"Order 5") and/or Federal Mille Marketing Order 7 ("Order

              T'), and any other person's sale, transportation and marketing of: or its purchase

              of, or failure or refusal to purchase, raw Grade A milk that was produced in and

              pooled on Orders 5 and/or 7. Released Claims includes all claims that were

              asserted or that could have been asserted arising out of or relating in any way to

              any conduct alleged in the Complaint, regardless of whether those claims arise

              from common law theories of tort or contract, including without limitation breach

              of contract and breach of :fiduciary duty, or theories under federal, state, or other

              statute, law, rule, or regulation.

      1.18.   "Released Parties" means the Settling Defendants, their predecessors, successors,

              parents, subsidiaries and affiliates, representatives of any    kind. all entities in
              which they have an ownership interest, shareholders, partners, members, owners

              of any   kind. attorneys, and any and all past and present officers, directors,
              employees, managing agents, and controlling persons of such entities, including

              any past or present officers of these Parties originally named as a Defendant, and

              National Dairy LLC and its successors, but not any other Defendant.

     1.19.    "Releasing Parties" means, individually and collectively, Plaintiffs and all Class

              Members on behalf of themselves and any Person claiming by or through them as



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               an heir, administrator, devisee, predecessor, successor, parent, subsidiary,

               representative of any kind, all entities in which they have an ownership interest,

               shareholder, partner, director, member, owner of any kind, affiliate, assignee,

               agent, employee, contractor, attorney, or insurer.

      1.20.    "Settlement Amount" shall have the meaning set forth in Paragraph 7.1 hereto.

      1.21.   "Settlement Fund" shall have the meaning set forth in Paragraph 7.1 hereto.

      1.22.   "Settling Defendants" means Dairy Farmers of America, Inc., National Dairy

              Holdings, LP, Dairy Marketing Services, LLC, Mid-Am Capital LLC, and Gazy

              Hanman, or their predecessors, successors, parents, subsidiaries and affiliates,

              representatives of any kind, heirs, administrators and devisees, all entities in

              which they have an ownership interest, shareholders, partners, members, owners

              of any kind, attorneys, and any and all past and present officers,       directors.
              employees, managing agents, and controlling persons of such entities, but not any

              other Defendant.

      1.23. "Term of the Agreement" shall mean the period from the Effective Date, as

              defined in Paragraph 1.9 above, through and including December 31, 2015.

2.    Motion for Preliminary Approval

     2.1.     Within one week after the complete execution of this Agreement, Plaintiffs shall

              file with the Court a motion, which shall not be opposed by the Settling

              Defendants, requesting entry of a Preliminary Approval Order, providing for,

              interalia:

              (a).   Preliminary approval of this Agreement as fair, reasonable and adequate

                     and in the best interests of the Class, considering all relevant risks and



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                    factors of litigation;

             (b).   Approval of the form and manner of notice described in Section 3 hereto;

            (c).    Appointment of a Claims Administrator;

            (d).    A determination that no additional opt-out period is warranted or required

                    by Rule 23(e)(4) of the Federal Rules of Civil Procedure;

            (e).    The scheduling of a hearing (the "Fairness Hearing") to consider (i)

                    whether this Agreement should be approved as fair, reasonable, and

                    adequate to, and in the best interests of, the Class, and whether Judgment

                    should be entered dismissing the Released Claims on the merits and with

                    prejudice; (ii) whether to approve any application by Class Counsel (or an

                    award of attorneys' fees and payment of costs and expenses; and (ill)

                    whether to approve any application for payment of incentive awards to

                    Plaintiffs;

            (f).    The date by which any Class Member may serve written objections to this

                    Agreement or to any application by Class Counsel for attorneys' fees and

                    expenses, which date shall, subject to the Court's approval, be fourteen

                    (14) days prior to the Fairness Hearing;

            (g).    A stay of all further pretrial and trial proceedings against the Settling

                    Defendants; and

            (h).    An injunction against the initiation, commencement, or prosecution of any

                    Released Claim by any of the Releasing Parties.

     2.2.   Upon the filing of the motion requesting entry of a Preliminary Approval Order,

            the Settling Defendants will not participate in further briefing in connection with



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              the approval of this Agreement or as otherwise specified herein.

 3.   Notice to CJass Members

      3.1.    Plaintiffs shall develop, after consultation with the Settling Defendants and the

              Claims Administrator, a proposed p)an by which to notify the Class of the

             Settlement. The proposed notice program shall include a proposed form of notice,

             which shall be agreed upon by the Parties, and which shall be subject to Court

             approval. Plaintiffs shall submit their proposed notice program to the Court for

             approval at the same time Plaintiffs file their motion requesting entry of a

             Preliminary Approval Order as described above in Paragraph 2.1.

      3.2.   In accordance with the requirements of Rule 23 of the Federal Rules of Civil

             Procedure and Due Process, the notice program shall identify and individually

             notify, to the extent practicable, each member of the Class reasonably

             ascertainable from records produced by the Settling Defendants or otherwise

             reasonably available.

             In order to provide notice of the Settlement to those individuals who may not be

             capable of being identified for purposes of providing individual notice,

             publication notice, to the extent recommended by the Claims Administrator and

             ordered by the Court shall also be provided.

 4.   Fairness Hearing

      4.1.   At the Fairness Hearing, Plaintiffs shall seek entry of a Judgment, which shall not

             be opposed by the Settling Defendants, inter alia:

             (a).   Finally approving this Agreement and its terms as being fair, reasonable,

                    and adequate, and in the best interest of the Class, within the meaning of



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                     Rule 23 of the Federal rules of Civil Procedure, and directing its

                     consummation according to its terms;

             (b).    Determining that the notices to the Class constituted, under the

                     circumstances, the most effective and practicable notice of this Agreement

                     and the Fairness Hearing, and constituted due and sufficient notice for all

                     other purposes to all Persons entitled to receive notice;

             (c).    Ordering dismissal of the Action with prajudice and without payment of

                     fees or costs by the Settling Defendants;

            (d).    Permanently barring and enjoining institution, commencement, or

                    prosecution, by any of the Releasing Parties, of any action asserting any

                    Released Claim against the Released Parties, in any local, state, federal, or

                    other court or tribunal of any nation, or in any agency or other authority or

                    arbitral or other forum wherever located;

            (e).    Providing that any Class Member who fails to object in the manner

                    prescribed in this Agreement shall be deemed to have waived any

                    objections to the Settlement or this Agreement and will forever be barred

                    from making any such objections to this Agreement;

            (f).    Retaining exclusive jurisdiction over this Agreement, including the

                    administration and consummation of this Agreement; and

            (g).    Determining pursuant to Rule 54(b) of the Federal Rules of Civil

                    Procedure that there is no just reason for delay and directing that the

                    judgment of dismissal shall be final and entered forthwith.

      42.   Any Class Member who objects to the Settlement may appear at the Fairness



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              Hearing in person or through counsel, at its own expense, to present any evidence

              or argument with respect to the Settlement, to the extent permitted by the Court.

              However, no such Class Member shall be heard, and no papers, briefs, pleadings,

              or other documents shall be received and considered by the Court, unless such

              Class Member properly submits a written objection that includes {a) notice of

              intention to appear, (b) proof of membership in the Class, and (c) the specific

             ground~ for the objection. The parties will request that the Court order that any

             written objection must be filed with the Court no later than fourteen {14) days

             prior to the date set fo~ the Fairness Hearing. and mailed to Class Counsel and

             counsel for the Settling Defendants, received no later than fourteen (14) days

             prior to the date of the Fairness Hearing. Any Class Member who fails to object

             in the manner prescribed herein shall be deemed to have waived any objections to

             the Settlement and this Agreement and will forever be barred from making any

             such objections to the Settlement or this Agreement.

      4.3.   Any Person who timely requested exclusion from the Class, and who has not in

             bis individual capacity sued in a separate lawsuit one or more of the Settling

             Defendants for the same conduct alleged in the Actions, may apply to the Court to

             be reinstated to the Class provided such application sets forth the reasons for

             seeking reinstatement and is received by the Claims Administrator at least

             fourteen {14) days prior to the date of the Fairness Hearing.

      4.4.   Ifthis Agreement is finally approved by the Coµrt in its current form, or in a form

             not materially different therefrom, the Parties agree not to take any appeal from

             entry of judgment. Final approval of this Agreement shall not be contingent upon



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                the Court making any particular award of attorney's fees, costs or expenses or any

                incentive award to Plaintiffs, and any order of the Court making or relating to

                such award shall not affect the approval or :finality of this Agreement or the

                validity, effectiveness or enforceability of the releases set forth herein.

  5.    Effective Date of Agreement

        5.1.   This Agreement shall become final and effective on the earliest date on which all

               of the following events and conditions have occurred or have been met:

               (a).    No party has timely availed itself of any right to terminate this Agreement

                       pursuant to Paragraph 11.1 herein;

               (b).    The Court has entered the Judgment, following notice to the Class and the

                       Fairness Hearing, finally approving this Agreement under Rule 23(e) of

                       the Federal Rules of Civil Procedure and dismissing the Actions with

                       prejudice as to all Class Members, and without costs; and

               (c).    The time for appeal or to seek permission to appeal from the Judgment has

                       expired or, if appealed, approval of this Agreement and the Judgment has

                       been affirmed in its entirety by the court of last resort to which such

                       appeal has been taken and such a:ffirmance has become no longer subject

                       to further appeal or review. It is agreed that neither the provisions of Rule

                       60 of the Federal Rules of Civil Procedure nor the All Writs Act, 28

                       U.S.C. § 1651, shall be taken into account in determining the above-stated

                       times.

 6.    Release and Covenant Not To Sue

       6.1.    Upon the Effective Date, and in consideration of the Settlement Consideration



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              specified in Section 7 herein and for other good and valuable consideration, the

              sufficiency and receipt of which is hereby acknowledged, each of the Releasing

              Parties shall be deemed to have, and by operation of the Judgment shall have,

              fully, finally, and forever released, relinquished, and discharged all Released

             Claims against the Released Parties, shall have covenanted not to sue any of the

             Released Parties with respect to all Released Claims, and shall be permanently

             barred and enjoined from instituting, commencing. prosecuting or asserting any

             Released Claims against any of the Released Parties.

      6.2.   Upon the Effective Date, each Plaintiff shall have expressly waived, and each of

             the Releasing Parties shall be deemed to have waived, and by operation of the

             Judgment shall have waived, any and all provisions, rights, and operation of the

             Judgment shall have waived, any and all provisions, rights, and benefits conferred

             by any law of any state or territory of the United States or any principle of

             common law or foreign Jaw, that is similar, comparable, or equivalent in effect to

             California Civil Code§ 1542 and§ 20-7~11 of the South Dakota Codified Laws

             or that would otherwise act to limit the effectiveness or scope of the re]eases.

             PJaintiffs and the Releasing Parties expressly acknow]edge that they may

             hereafter discover facts in addition to or different from those that any of them or

             their counsel now knows or believes to be true with respect to the subject matter

             of the Released Claims or otherwise, but upon the Effective Date each Plaintiff

             shall expressly have, and, upon the Effective Date, each Releasing Party sha11 be

             deemed to have, and by operation of the Judgment shal] have, fully, finally, and

             forever sett]ed and released any and all Released Claims, known or unknown,



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              suspected or unsuspected, contingent or non-contingent, whether or not concealed

              or hidden, that now exist or heretofore have existed, upon any theory of law or

              equity now existing or coming into existence in the future, including, but not

             limited to, conduct that is negligent, reek.less, intentional, with or without malice,

             or a breach of any duty, law, or rule, without regard to the subsequent discovery

             or existence of such different or additional facts, that could have been asserted

             with respect to the subject matter of the Released Claims. Plaintiffs acknowledge,

             and the Releasing Parties shall be deemed to have acknowledged, and by

             operation of the Judgment shall have acknowledged, that the foregoing waiver

             was separate]y bargained for and a key element of the Settlement of which this

             release is a part.

 7.   Settlement Consideration

      Monetary Payment

      7.1.   Defendants will pay an aggregate sum of one hundred forty million United States

             dollars ($140,000,000) (the "Settlement Amount") into       an   escrow account (the

             "Settlement Fund'') within 15 days after the entry of the Preliminary Approval

             Order, with seventy million United States dollars ($70,000,000) allocated to

             Defendant DFA, fifty million United States dollars ($50,000,000) allocated to

             Defendant NDH, and twenty million United States d~llars ($20,000,000) allocated

             to Defendant Mid-Am Capital. JPMorgan Chase Bank, National Association

             shall serve as the escrow agent (Wlless the parties agree upon another e_scrow

             agent), and the escrow account shall be established and administered in

             accordance with Section 8 hereof.



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       7.2.    In addition to the Settlement Amount set forth in Paragraph 7.1, Settling

               Defendants agree to guarantee and/or pay an aggregate sum of eighteen million

               and six hundred thousand United States dollars ($18,600,000), which represents

              the benefit to Class Members of a 3.3 percent increase in the annual weighted

              average percentage of Class I utilization for Federal Milk Marketing Orders 5 and

              7 (the "Class I Utilization Rate''), and thus the uniform prices for Federal Milk

              Marketing Orders 5 and 7, as follows:

              (a).   The Guarantee Period shall be two full calendar years, commencing on

                     January 1, 2014, to allow for the necessary time to give notice to

                     customers and make other arrangements to redirect significant volumes of

                     raw milk. On or before the commencement of the Guarantee Period,

                     Settling Defendants shall deposit nine million and three hundred thousand

                     United States dollars ($9,300,000) into the Settlement Fund;

              (b).   Settling Defendants have unilaterally determined that the one practical

                     way to increase the Class I Utilization Rate is by reducing or eliminating

                     the milk shipped to one or more manufacturing facilities located in Federal

                     Orders 5 and 7, which raw milk is currently processed for Class Ill usage;

              (c).   Settling Defendants represent that by, for example, reducing the volume of

                     milk shipped to manufacturing facilities and processed for Class   muse by
                     approximately 340 million pounds of raw Grade A milk per year, the

                     Class I Utilization Rate in Order 7 would have increased by approximately

                     3.3 percent, and that such an increase in utilization rates in both Federal

                     Orders 5 and 7 would in tum have increased uniform prices to Class



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                        Members by $9.3 million per year;

            (d).       To guarantee Settling Defendants' predicted 3.3% increase in the Class I

                       Utilization Rate and the associated $9.3 million per year increase of

                       uniform prices in Federal Mille Marketing Orders 5 and 7 is realized by the

                       Class, Settling Defendants agree, as noted above, to deposit $9.3 million

                       into the Settlement Fund. For purposes of evaluating whether the increase

                       in the Class I Utilization Rate meets the guaranteed increase, the following

                       methodology shall be used:

                       (i}.    Sixty-seven point one percent (67.1%} shall be the Benchmark

                               Class I utilization rate, which is the weighted average percen~ge

                               of Class I utilization for Federal Milk Marketing Orders 5 and 7 for

                               calendar year 2012 (the "Benchmark") according to milk

                               utilizations reported by the USDA administrator offices for Orders

                               5 and 7 (the "Administrators");

                   .   (ii).   Following the Administrators' release of the milk utilizations for

                               calendar year 2014 and then again for calendar year 2015,

                               Plaintiffs shall calculate, in the same fashion as the Benchmark, the

                               Class I Utilfaation Rate for each of the twelve month periods

                               during the Guarantee Period. Plaintiffs shall further calculate, as

                               provided below, the amount, if any, of the $9.3 million in the

                               Settlement Fund to be disbursed to the Class if the Class I

                               Utilization Rates for those periods that do not exceed the

                               Benchmark by at least the guaranteed 3.3 percent;



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                 (iii).    If the Class I Utilization Rate for calendar year 2014 exceeds the

                           Benchmark by 3.3 percent or more, the $9.3 million in the

                           Settlement Fund shall remain in the Settlement Fund and shall be

                           credited to Settling Defendants for calendar year 2015. If the Class

                          I Utilization Rate for calendar year 2015 exceeds the Benchmark

                          by 3.3 percent or more, the $9.3 million in escrow shall be returned

                          to Settling Defendants, and Settling Defendants sh.all have no

                          further obligations pursuant to this section;

                (iv).     If the Class I Utilization Rate for calendar year 2014 is less than

                          the Benchmark, the full $9.3 million in the Settlement Fund shall

                          be disbursed to the Class; in that case, Settling Defendants shall

                          deposit, within five (5) business days, an additional $9.3 million

                          into the Settlement Fund for the calendar year 2015 period If the

                          Class I Utilization Rate for calendar year 2015 is less than the

                          Benchmark, the full ·$9.3 million in the Settlement Fund shall be

                          disbursed to the Class.      In no case, however, shall Settling

                          Defendants' obligations under this section exceed $9.3 million per

                          year for the two specified years of the Guarantee Period;

                (v).      Iftbe Class I Utilization Rate for calendar year 2014 is more than

                          the Benchmark but does not exceed the Benchmark by at least 3.3

                          percent, Plaintiffs shall calculate the amount of the $9.3 million the

                          Settlement Fund to be disbursed to the Class by calculating the

                          percentage shortfall in the change in Class I Utilization Rates (1



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                         minus actual increase in utilization/guaranteed increase), and

                         multiplying that percentage shortfall by $9.3 million. For pwposes

                         of illustration, if the Class I Utilization Rate for a period were

                         69.3%     ~   that is the actual increase was 2.2 percent. and not the

                         guaranteed 3.3 per cent, then the amount disbursed from the

                         Settlement Fund would be $3.1 million (percentage shortfall of 1 -

                         2.213.3   = .33;     .33 x $9,300,000 = $3,100,000). Any amount

                         disbursed from the Settlement Fund as a result of calendar year

                         2014 shall be replaced by Settling Defendants within five (5)

                         business days so as to maintain $9.3 million in the Settlement Fund

                         for calendar year 2015. Toe same calculation shall be used for

                         calendar year 2015, except any of the $9.3 million· in the

                         Settlement Fund ammmt not disbursed shall be returned to Settling

                         Defendants;

                (vi).    Any disbursements from the $9.3 million in the Settlement Fund

                         shall be distributed to the Class in accordance with the Distribution

                         Plan;

                (vii).   Settling Defendants shall have 10 days. after Plaintiffs present their

                         calculations under Paragraph 7.2(d)(v) above, to raise any

                         objections to the calculations.       Settling Defendants and Class

                         Counsel shall seek to resolve any differences and to reach

                         agreement concerning any calculations herein. If Plaintiffs and

                         Settling Defendants are unable to agree to a calcajation, then


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                            Settling Defendants may apply to the Court pursuant to Paragraph

                            13.2 hereto for a dete:rmination of the calculation by the Court.

                            Any such application to the Court must be made within 30 days of

                            the presentation of the calculation by Plaintiffs to Settling

                            Defendants. Plaintiffs' calculation shall become final and binding

                            if no application to the Court has been made within 30 days of the

                            presentation of the calculation by Plaintiffs to Settling Defendants.

                            Any application to the Court concerning the calculations herein

                            shall be strictly limited to a single brief on behalf of Settling

                            Defendants of no more than 20 pages including exhibits and a

                            single response brief by Plaintiffs of no more than 20 pages

                            including exhibits.

      7.3.   The monetary relief described in paragraphs 7.1 through 7.2 shall be the sole

             monetary relief afforded to Plaintiffs and the Class. Settling Defendants will have

             no responsibility to make any payment other than the payments described in

             paragraphs 7.1 through 7.2.

      7.4.   Conduct elements.

             (a).   DFA agrees to remove the application of monetary penalties for the

                    cancellation of the FSA for the Country Delite plant in Nashville, 1N and

                    the Ryan Foods plant in Murray, KY. DFA retains the right to renew its

                    existing FSAs with Class I customers (which are enumerated on Schedule

                    1 attached. and which currently cover approximately 30% of the Class I

                    volume in Orders 5 and 7), but DFA will not, during the Term of this



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                    Agreement, enter into any other FSAs with Class I customers for the sale

                    of milk in Orders S and 7.

            (b).    In addition to all discovery materials previously made public in this

                    litigation, Settling Defendants agree to release of the materials previously

                    agreed in DFA Plaintiffs' Response to Court's April 17, 2012 Order to

                    Submit a List of Docwnents (Dkt. 1829) and Response and Objections of

                   Drury Farmers of America, Inc., Drury Marketing Services LLC and Mid-

                   Am Capital LLC to Release of Certain Documents Currently Subject to

                   Protection Order (Dkt. 1848).

            {c).   DFA will insert into the DFA Membership and Marketing Agreement for

                   members located in Orders 5 and 7 the following modified language:

                   However, this Agreement may be terminated by either party during the

                   ninety {90) day period immediately prior .to the Anniversary Date by

                   giving at least thirty (30) days written notice to the other party. The

                   termination will be effective on the Anniversary Date unless otherwise

                   modified, at the request of the member, for a period npt to exceed fifteen

                   days after the Anniversa.zy Date to accommodate members' particular milk

                   marketing needs.

           (d).    DFA will reconfigure milk checks for members located in Orders 5 and 7

                   to reflect revenues received/proceeds available to pay, agency and

                   cooperative deductions, each shown as an average per hundred weight

                   (cwt) of   ~       and the individual member's applicable premiums,

                   incentive payments, and mailbox price. The check will show the average


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                    Federal Order blend price for each member's pay zone.

            (e).    DFA :financial reports are and will be prepared in accordance with

                    generally accepted accounting principles as promulgated by the Financial

                    Accounting Standards Board.

                    (i).    At the next annual membership meeting. a resolution for

                            consideration will be presented to the delegates regarding whether

                            DFA should disclose to its membership on an annual basis the top

                            five senior executives' compensation and incentives. The DFA

                            CEO shall be responsible for providing a neutral presentation as to

                            the pros and cons of the resolution as part of DFA's

                            communications to delegates regarding the annual meeting. In

                            addition, DFA's Southeast Area Council ("SEAC") will provide to

                            its members the text of the CEO's pros and cons of the resolutions

                            that   relate to this settlement, as well as the names and contact

                            information for the Council member and delegate from each

                            member's district who will be attending the annual meeting at

                            which these resolutions will be considered.

                   (ii).    DFA will disclose the identity of members of the Board of

                            Directors and of the Committees of the Board and the generally

                            applicable per diem payment rate compensation for Board

                            members.

                   (iii).   DFA will post on its secure. members-only website, myDFA, an

                            annual disclosure of all material related-party transactions, other



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                          than the sales or purchases of raw milk to or from affiliates,

                          specifically br9ken out and identified per transaction (not

                         aggregated), with the definition of"material" to be consistent with

                         the SEC's Item 404 promulgated at 17 C.F.R. 229.404 (defining

                         materiality as involving an amount of $120,000 or more).

                 (iv).   DFA Board members and senior executive management will

                         continue to execute annual conflict of interest certifications, which

                         shall be subject to review by the Audit Committee, with a report by

                         the Audit Committee of any issues to the delegates at the Annual

                         Meeting.

                (v).     DFA will disclose to delegates at DFA's annual meeting financial

                         information which shall include material related-party transactions

                         as defined in Paragraph 7.4(e)(iii), and DFA's financial results·

                         from its participation in joint ventures and off-balance sheet

                         transactions, specifically broken out and identified per transaction

                         (not aggregated), with the definition of "material" to include any

                         transaction involving more than $5 million, excluding the sales or

                         purchases of raw milk to or from affiliates.

                (vi).    DFA auditors shall be selected from one of the nationally

                         recognized accounting fums.

                (vii).   DFA senior management and the Audit Committee of the DFA

                         Board will ~atively represent that they are responsible for the

                         preparation, integrity and accuracy of DFA's Annual Financial



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                            Report.

            (f).    At the next annual membership meeting, a resolution for consideration

                    will be presented to the delegates regarding whether DFA members should

                    be permitted to opt out of DFA's block vote, consistent with Senate Bill

                   457 (I 12th Congress) (Democracy for Dairy Producers Act of 2011 ). The

                   DFA CEO shall be responsible for providing a neutral presentation as to

                   the pros and cons of the resolution as part ofDFA's communications to

                   delegates regarding the annual meeting.         In addition, the SEAC will

                   provide to its members the text of the CEO' s pros and cons of the

                   resolutions that relate to this settlement, as well as the names and contact

                   information for the Council member and delegate from each member's

                   district who will be attending the annual meeting at which these

                   resolutions will be considered.

           (g).    At the next annual membership meeting, a resolution for consideration

                   will be presented to the delegates regarding whether candidates for

                   delegate to the annual meeting, may upon request, in advance of the

                   district meeting at which elections will be held, obtain a list of all current

                   members in their district.        The DFA CEO shall be responsible for

                   providing a neutral presentation as to the pros and cons of the resolution as

                   part ofDFA's communications to delegates regarding the annual meeting.

                   In addition, the SEAC will provide to its members the text of the CEO's

                   pros and cons of the resolutions that relate to this settlement, as well as the

                   names and contact information for the Council member and delegate from



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                     each member's district who will be attending the annual meeting at which

                     these resolutions will be considered.

              (h).   Compliance with the Terms of this Settlement Agreement will be

                     monitored by the Audit Committee of the DFA Board, whose membership

                     has a total of 7 members plus two (2) independent advisors with expertise

                     in acc.ounting, financial reporting and auditing matters. Other than serving

                     as advisors to the Audit Committee, the two (2) advisors are currently free

                     of any other relationship with DFA. The Audit Committee shall report its

                     views to the delegates at DFA's annual meeting. ·

 8.   The Settlement Fund

      8.1.   The Parties to this Agreement, their counsel, and the Court shall treat the

             Settlement Fund as being at all times a "qualified settlement fund" within the

             meaning of Treas. Reg. § 1.468B-l for all periods after the date of initial fimding

             of the Settlement Fund. The Parties, their counsel, and the Court agree to talce no

             action inc.onsistent with the treatment of the Settlement Fund in such manner, and

             all provisions of this Agreement shall be interpreted in a manner, that is consistent

             with such treatment. As required, the parties shall timely make such elections as

             are necessary or advisable to carry out the provisions of this Paragraph, including

             the "relation-back election'' (as defined in Treas. Reg. § l.468B-l(j)) back to the

             earliest permitted.   Such elections shall be made in compliance with the

             procedures and requirements contained in such regulations.

      8.2.   For the purpose of§ 468B of the Internal Revenue Code of 1986, as amended, the

             regulations promulgated thereunder, the "administrators" of the Settlement Fund



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               shall be the Claims Administrator designated by Class Counsel and approved by

               the Court. The Class Counse1's designee shall timely and properly file or cause to

               be filed on a timely basis all tax returns necessary or advisable with respect to the

               Settlement Fund (including without limitation all income tax returns, all

               informational returns, and all returns described in Treas. :Reg. § 1.468B-2(1)}.

       8.3.    The Settlement Fund shall be invested, at the sole discretion of CJass Counsel,

              and in accordance with the escrow agreement described·in Paragraph 7.1 hereof,

              in a United States treasury money market fund subject to the regulations of the

              United States Securities Exchange Commission or United States Government

              Treasuty Bills or Notes of no more than six (6) months' duration, provided

              however that when disbursement of some or all of the Settlement Fund is

              approved by the Court, the necessary funds may be transferred into and paid out

              of a federally insured bank account. All interest earned on the Settlement Fuod

              shall become and remain part of the Settlement Fund.

      8.4.    After the Effective Date, the Settlement Fund shall be distributed in accordance

              with a plan that Class Counsel shall submit at the appropriate time for approval by

              the Court ("Distribution Plan"). In no event shall the Settling Defendants bear

              any risk or have any responsibility. financial obligation, or liability whatsoever

              with respect to the investment, distribution, or administration of the Settlement

              Fund, including, but not limited to, the costs and expenses of such distribution and

              administration or any losses associated therewith.

      8.5.    Plaintiffs and Class Counsel shall be reimbursed, indemnified, and paid solely out

              of the Settlement Fund for all expenses, including, but not limited to, attorneys'



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              fees, costs, and expenses. The Settling Defendants shall not be liable for any

              costs, fees, or expenses of any of Plaintiffs' respective attorneys, experts,

              advisors, agents. or representatives, and all such costs, fees, and expenses as

              approved by the Court shall be paid out of the Settlement Fund. In no event shall

              Settling Defendants be obligated to pay anything in addition to the Settlement

              Amount described in Paragraphs 7.1 and 7 .2 hereto, inc]uding without limitation

             class notice costs, attorneys' fees, payments to named Plain~s for their efforts

             on behalf of the Class, settlement administration costs, escrow costs. taxes, or any

             other cost or expense arising from or to be paid as part of this Agreement.

      8.6.   Prior to the Effective Date, (i) up to$ 100,000 of the Settlement Fund may be used

             to give notice of the Settlement to Class members and for settlement

             administration costs, (ii) up to $10,000 of the Settlement Fund may be used for

             escrow agent·costs, and (iii) any amount of the Settlement Fund may be used to

             pay required taxes on income earned on the Settlement Fund. Except as otherwise

             provided in this Paragraph, any disbursement from the Settlement Fund, including

             disbursements for attorneys' fees, costs and expenses, and incentive fees to named

             Plaintiffs, shall be made only upon approval and order of the Court, and only after

             the Effective Date.

 9.   Opt Onts

      9.1.   Class Members who timely and validly requested exclusion from the Class as of

             the applicable Exclusion Dates or such other deadline as the Court may set for

             opting out, and who have not opted back in as permitted by Court order

             (collectively "Opt Outs''), shall have no rights with respect to this Agreement and



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                shall receive no payments as provided in this Agreement.

 10.   Attorneys' Fees

       10.1.    Settling Defendants will have no responsibility to pay Class Counsel's attorneys•

               fees, costs, or expenses. Class Counsel may apply to the Court for payment of

               attorneys' fees, costs, and expenses from the Settlement Fund.             Under no

               condition will Class Counsel seek an amount of attorneys' fees in excess of 33

               113% of the Settlement Consideration in Paragraphs 7.1 through ·7.4 plus

               reimbursement for reasonable litigation and administrative expenses.

       10.2.   Settling Defendants will not oppose an application for attorneys' .fees or expenses

               submitted by Class Counsel consistent with the limitation described in Paragraph

               10.l hereto.

       10.3. In the event the Court disapproves of. or reduces the amount sought in, any such

               application, such disapproval or reduction shall have no effect on the terms of the

               Agreement.

 11.   Withdrawal From or Modification of the Settlement

       11.1.   If the Court declines to approve this Agreement or any material part hereof. or if

               such approval is materially modified or set aside on appeal, or if the Court does

               not enter the Judgment, or if the Court enters the Judgment and appellate review

               is sought and, on such review, such Judgment is not affirmed or is materially

               modified, then the Settling Defendants and Plaintiffs shall each, in their respective

               sole discretion, have the option to rescind this Agreement in its entirety. Any

               Party wishing to rescind pursuant to this Paragraph 11.1 must provide written

               notice of rescission within thirty (30) calendar days of the event giving rise to the



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               option to rescind.

      11.2.    A modification or reversal on appeal of any amount of Class Counsel's fees and

               expenses awarded by the Court from the Settlement Fund or any Distribution Plan

               shall not be deemed a modification of all or a part of the terms of this Agreement

               or such final judgment.
      11.3.    If the Agreement is not approved by the Court in all material parts or is otherwise

               rescinded, the Settling Defendants shall promptly be reimbursed the Settlement

              Fund, including interest thereon, if any, less any funds actually disbursed pursuant

              to Paragraph 8.6 hereto; in addition, Class Counsel shall promptly reimburse

              Settling Defendants for any funds actually disbursed pursuant to Paragraph 8.6(i)

              and 8.6 (ii).

      11.4.   In the event that this Agreement is rescinded pursuant to Paragraph 11.1, or for

              any reason the Effective Date does not occur in accordance with the terms of

              Paragraph S.1 herein, then:

              (a).    The terms and provisions of this Agreement, with the exception of this

                     Paragraph 11.4 (which shall continue in ful) force and effect), shall be null

                     and void and shall have no force or effect;

              (b).   Neither the existence nor the tenns of this Agreement. nor any

                     negotiations preceding this Agreement, nor any acts performed pursuant

                     to, or in furtherance of, this Agreement, shall be used ·or offered in

                     evidence in the Actions or in any other action or proceeding for any

                     purpose (other than to enforce the terms remaining in effect); and

              (c).   The Settling Defendants may oppose and assert all objections to the



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                        continued certification of the Class or such other class as the Court may

                        certify.

  12.   Taxes

        12.1. Class Counsel shall be solely responsible for filing all informational and other tax

                returns necessary to report any net taxable income earned by the Settlement Fund

                and shall file all infonnational and other tax returns necessary to report any

                income earned by the Settlement Fund and shall be solely responsible for taking

                out of the Settlement Fund, as and when legally required., any tax payments,

                including interest and penalties due on income earned by the Settlement Fund.

                All taxes (including any interest and penalties) due with respect to the income

                earned by the Settlement Fund shall be paid, when due, from the Settlement Fund;

                Class Counsel shall direct the escrow agent to do so in writing. The Settling

                Defendants shall have no responsibility to make any filings relating to the

                Settlement Fund and will have no responsibility to pay tax on any income earned

                by the Settlement Fund or pay any taxes on the Settlement Fund, unless the

                settlement is not consummated and the Settlement Fund is returned to the Settling

                Defendants.    In the event the settlement is not consummated., the Settling

                Defendants shall be responsible for the payment of any taxes (including any

                interest or penalties) on said income.

 13.    Miscellaneous

        13.1. Plaintiffs and the Settling Defendants shall use their best efforts to effectuate this

                Agreement, including cooperating in promptly seeking th~ Court's approval of

                procedures (including the giving of class notice under Rule 23(e) of the Federal



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              Rules of Civil Procedure) to secure the prompt, complete, and final dismissal with

              prejudice of the Actions as to the Settling Defendants.

       13.2. The United States District Court for the Eastern District of Tennessee shall retain

              jurisdiction over the implementation, enforcement, and perfonnance of this

              Agreement, and shall have exclusive jurisdiction over any suit, action.

              proceeding, or dispute arising out of or relating to this Agreement or the

              applicability of this Agreement that cannot be resolved by negotiation and

              agreement by Plaintiffs and Settling Defendants.

       13.3. This Agreement constitutes the entire agreement among Plaintiffs and the Settling

              Defendants pertaining to the settlement of the Actions against the Settling

              Defendants only and supersedes any and all prior and contemporaneous

             undertakings of Plaintiffs and the Settling Defendants in connection therewith.

             This Agreement may be modified or amended only by a writing executed by

             Plaintiffs and Settling Defendants.

      13.4. This Agreement shall be binding upon. and inure to the benefit of. the successors

             and assigns of the Releasing Parties and the Released Parties. Without limiting

             the generality of the foregoing and subject to the Effective Date occurring: (a)

             each and every covenant and agreement made herein by Plaintiffs or Class

             Counsel shall be binding upon all Class Members and Releasing Parties, and (b)

             each and every covenant and agreement made herein by the Settling Defendants

             shall be binding upon all Released Parties.

      13.5. This Agreement may be executed in counterparts by Plaintiffs (or their counsel)

             and the Settling Defendants (or their counsel), and an emailed signature shall be



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              deemed an original signature for purposes of executing this Agreement.

      13.6. Neither the Settling Defendants nor Plaintiffs, nor any of them, shall be

              considered to be the drafter of this Agreement or any of its provisions for the

              purpose of any statute, case Jaw, or rule of interp,retation or construction that

              would or might cause any provision to be construed against the drafter of this

             Agreement.

      13.7. Nothing expressed or implied in this Agreement is intended to or shall be

             construed to confer upon or give any person or entity other than Class Members,

             Releasing Parties, and Released Parties any right or remedy Wlder or by reason of

             this Agreement.

      13.8. Other than in a proceeding to enforce its terms, this Agreement shall not be used

             or admitted in any other action or proceeding for any purpose and shall not be

             deemed an admission of any fact in any proceeding.

      13.9. Where this Agreement requires any party to provide notice or any other

             communication or document to any other party, such notice, communication, or

             document shall be provided by electronic mail, or letter by overnight delivery, to

             counsel for that party, and in the case of notice to members of the Class, notice to

             Class Counsel shall be sufficient.

      13.10. Each of the undersigned attorneys represents that he or she is fully authorized by

             their respective clients, the Court's April 1, 2008 Case Mm).agement &

             Schedu1ing Order appointing interim Class Counsel, the Court's September 7,

             2010 Order certifying the Class and appointing Class Counsel, and the Court's

             June 1, 2012 Memorandum and Opinion recertifying DFA Sub-Class and



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               appointing counsel for the DFA Sub-Class to enter into the terms and conditions

               of, and to exec1,1te, this Agreement on behalf of their respective clients and the

               Class, subject to Court approval.

         13.11. Tennessee law shall apply to any dispute arising from or relating to this

               Agreement.

  Dated: January 17, 2013



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    KRAMER RAYSON LLP                         Independent Dairy Fanner Subclass, is
    P.O.Box629                                expressly authorized to execute this
    Knoxville, TN 37901-0629                  agreement for Gary Brewer on behalf of
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     !Schedule 1


     Dean Foods {not including Count1y DeLite end Murray. KY, which arc oiberwlse dealt with]
     Brown's Velvet- New Orleans
     Dairy Fresh - Winston Salem
     Foremost- Shreveport
     VaUey otVh'ginia- Mt. CrawfoL'CI

     HiJruid/Tufuor:
     Hiland- Fayetteville
     Hi fond - Fort Smith
     Hiland- Springfield
     Coleman - Little Rock
     Forest Hills - Memphis
     Turner- Fulton
     Memory Lane- Fordland, MO

     Kmm
     Ccmtcnoial Farms-Atlanta
     Westover Dairy- Lyncbblll'g

     Borden/LaLa
     Flav-O~Rich- London, KY (serviced by Mideast Area Council)

     Other
     Luvcl Dairy- Kosciusko
     Superbl'8nds - Hammond
     Broadacre - Powell, TN




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